                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 2:13-00002
                                                  )      Judge Trauger
                                                  )
[2] CHRISTOPHER SADLER                            )

                                         ORDER

        It is hereby ORDERED that the change of plea hearing scheduled for March 4, 2014 is

RESET for Friday, March 7, 2014, at 10:30 a.m.

        It is so ORDERED.

        ENTER this 4th day of March 2014.



                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




     Case 2:13-cr-00002     Document 51      Filed 03/04/14    Page 1 of 1 PageID #: 79
